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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Philips Medical Systems (Cleveland), Inc., et al.
                                                    Plaintiff,
v.                                                               Case No.: 1:19−cv−02648
                                                                 Honorable Marvin E. Aspen
Sherman Jen, et al.
                                                    Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 21, 2022:


       MINUTE entry before the Honorable Marvin E. Aspen: Plaintiffs' response to the
motions to withdraw as attorney [396] and [397] are due by 4/12/2022; defendants' replies
by 4/27/2022. The status hearing set for 5/12/2022 is stricken and reset to 5/19/2022 at
10:30 a.m. Mailed notice (ags)




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